Case 3:17-cv-00666-MAB Document 57 Filed 10/02/20 Page 1 of 2 Page ID #411




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

 LARRY MONTGOMERY,                        )
                                          )
                    Plaintiff,            )
                                          )
 vs.                                      )   Case No. 3:17-CV-00666-MAB
                                          )
 CENTRALIA CORRECTIONAL                   )
 CENTER, ET AL.,                          )
                                          )
                    Defendants.

                       JUDGMENT IN A CIVIL CASE

DECISION BY COURT.



       IT IS ORDERED AND ADJUDGED that pursuant to the Order entered on

August 17, 2017, Defendant Centralia Correctional Center was DISMISSED with

prejudice as an improper defendant (Doc. 6). Defendants Garcia, Santos, and Wexford

Health Sources were DISMISSED without prejudice (Id).

       IT IS FURTHER ORDERED AND ADJUDGED pursuant to the Order entered

on October 2, 2020, Defendant Mueller’s motion for summary judgment was granted

(Doc. 56), and Plaintiff’s claim against Defendant Mueller was DISMISSED with

prejudice.

       Judgment is entered in favor of Defendant Mueller and against Plaintiff

Montgomery. Plaintiff shall recover nothing and this action is DISMISSED in its

entirety.




                                    Page 1 of 2
Case 3:17-cv-00666-MAB Document 57 Filed 10/02/20 Page 2 of 2 Page ID #412




     DATED: October 2, 2020

                                  MARGARET M. ROBERTIE,
                                  Clerk of Court

                                  BY: /s/ Jennifer Jones
                                     Deputy Clerk


APPROVED: /s/ Mark A. Beatty
          MARK A. BEATTY
          United States Magistrate Judge




                                 Page 2 of 2
